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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

                Plaintiff,
                                                                    Case No. __________
        v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

                Defendants.


                             DECLARATION OF MARK C. ELLIOTT

        I, Mark C. Elliott, declare as follows:

        1.      I am Vice Provost for International Affairs at Harvard University and the Mark

Schwartz Professor of Chinese and Inner Asian History.

        2.      I have served as Vice Provost for ten years. In this role, I have responsibility for

supporting Harvard’s community of international students, scholars, and faculty, as well as

advancing Harvard’s international academic initiatives and its global strategy.

        3.      I have personal knowledge of the contents of this declaration or have knowledge of

the matters based on my review of information and records gathered by Harvard personnel, and

I could testify to these matters.

        4.      Harvard is the oldest institution of higher education in the United States, established

in 1636. Today, it enjoys a reputation as one of the preeminent educational institutions in the world.

        5.      Harvard’s dual mission of teaching and research depends on its ability to attract to

our campus the most promising and accomplished students and faculty from wherever we might

find them, regardless of their country of origin.
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       6.      Accordingly, Harvard is home to many international students. Undergraduate

students hail from about 109 countries, and graduate students attend the University from about 134

countries. All told, international students who have entered the United States through student visa

programs make up more than 25% of the student body.

       7.      Harvard benefits enormously from the presence and contributions of these

international students from all corners of the world, who have varied skills, perspectives,

experiences, cultures, and traditions.

       8.      Harvard competes with other top institutions of higher education in the United

States and in other countries for the most talented students, wherever they are found. Harvard’s

ability to participate in student visa programs and enroll international students enables the

University to offer them desirable options for study and research.

       9.      Harvard’s ability to attract talented students from around the world confers major

benefits upon domestic and international students alike. All of our students recognize that the

opportunity to learn and live with peers from different backgrounds—who speak different native

languages and were educated in different educational systems against the backdrop of different

cultures, politics, and values—will enrich their educational experience and prepare them to

contribute more meaningfully to our global society.

       10.     Harvard also competes with other top institutions, both American and non-

American, for the most talented faculty members. Harvard offers its faculty the opportunity to

teach and mentor a student body with unmatched potential and to work with exceptional students

as their teaching assistants, research partners, clinical trainees, and more. That promise, which

serves as an incentive for top scholars to teach at Harvard, depends on Harvard’s ability to attract

to its campus the best students it can find, from all over the world.




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       11.     This is particularly true in the science, technology, engineering, and math (or

“STEM”) disciplines, where international students on student visas make up a sizeable share of

the graduate students who teach courses, run labs, and drive innovative research. For the 2024-

2025 academic year, 45% of all STEM graduate students university-wide were international

students. In the School of Engineering and Applied Sciences, that figure was 48%.

       12.     Competition for admission to Harvard’s academic degree programs is open to

everyone in the world, regardless of national origin. If Harvard did not have international students

on student visas, Harvard would not be able to enroll the most promising students or attract the

most desirable faculty members at the cutting edge of scholarship and research. The students and

faculty best equipped to contribute to Harvard’s mission would reasonably choose to go elsewhere.

       13.     Losing this student population would also wipe out entire ranks of teaching fellows,

research assistants, clinical trainees, and more—causing immediate and significant disruptions to

the University’s day-to-day operations and ability to deliver on its educational mission.

       14.     For example, Harvard relies substantially on the contributions of its international

graduate students as teaching fellows in its undergraduate courses. Of the graduate students

holding a teaching fellow appointment for the 2024-2025 academic year, 38% were international

students. Harvard depends on its teaching fellows to guide undergraduate students through their

coursework and assist faculty members in evaluating student work. Implementing an alternative

support structure on short notice is simply not feasible, given the important role that teaching

fellows serve across the College.

       15.     Harvard’s ongoing research also depends on the continued enrollment of its

international students through student visa programs. International graduate students in particular

play an indispensable role in managing labs, supervising and instructing undergraduates in




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conducting lab work, and assisting faculty members in conducting, analyzing, and reporting their

research. These research projects often span multiple semesters. Without international graduate

students, key projects in many STEM fields would grind to a halt.

       16.     Harvard’s affiliated healthcare facilities depend on the contributions of medical

students who support clinical work and treat patients. Approximately 13% of Harvard’s medical

students during the 2024-2025 academic year were international students on student visas.

       17.     In addition, many of Harvard’s curricular programs depend on the presence and

contributions of international students.

       18.     To take one example, the curriculum at the Harvard Kennedy School of

Government—where over one-half of enrolled students hold student visas—heavily depends on

the incorporation of the perspectives of international students, including mid-career public officials

from around the world, into classroom discussions. These students contribute a broad range of

viewpoints about policy, government, and international relations that immeasurably enrich the

academic experience and provide all students, domestic and international alike, an exposure to

points of view they would not otherwise be able to access.

       19.     The Harvard Business School—where approximately one-third of students hold

student visas—likewise benefits immensely from the presence of international students, who help

broaden the conversation to include global markets and wider economic trends.

       20.     Harvard Law School’s LL.M. program contributes meaningfully to Harvard’s

instruction and dialogue on comparative law by bringing the perspectives and experiences of

established lawyers from a wide range of countries—this year, 56 different countries—into the

law school community. During the 2024-2025 academic year, 94% of students enrolled in Harvard

Law School’s LL.M. program were international students.




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       21.     At Harvard College, student visa holders provide essential contributions to courses

of study like language instruction, offering students exposure to native speakers of a wide range

of languages and dialects. Indeed, many College students receive language instruction from

international graduate students teaching their native tongues as part of the College language

requirement.

       22.     Recognizing the importance of international perspectives, Harvard College

students frequently elect to participate in study abroad at some point during their undergraduate

education. Harvard assists its domestic students in obtaining the needed approvals from other

countries to facilitate international student exchange. The global educational system depends on

these normal reciprocal visa processes. If Harvard loses its authorization to host international

students, other countries might begin to decline to issue student visas to Harvard’s American

students who wish to study abroad.

       23.     More broadly, across areas of instruction and throughout campus life, interactions

with students from other nations, backgrounds, and cultures teach our community members the

ability to empathize and connect with other people despite their differences, which is more

important now than ever before. The presence of international students allows all of Harvard’s

students access to and understanding of the range of living conditions, life experiences, and

resulting perspectives of individuals the world over.

       24.     The damage to Harvard of losing all student visa holders would be incalculable. It

would impair Harvard’s educational mission, its competitive edge, and its academic and research

programs. Classroom discussion would be less rich, campus life would lose its vibrancy, and

recruitment and retention of faculty would be made significantly more difficult.




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       25.     Harvard has already admitted and enrolled students for its summer term and fall

semester, including international students who require student visas. For the fall semester, the

admissions cycle is complete for both undergraduate and graduate programs, meaning that

Harvard’s incoming classes are largely set.

       26.     Harvard takes a holistic approach to building its College class, carefully selecting

a cohort of students with a range of different academic interests and extracurricular pursuits.

Reconfiguring an incoming first-year class at the College and replacing approximately 15% of that

class on short notice and at this late stage in the admissions cycle is not feasible. There are not

enough applicants on the waitlist to make up the shortfall of hundreds of students. Even if there

were, the resulting class would lack the careful balance that our Admissions office pursues to

ensure that our undergraduate student body and our broader community benefit from the widest

possible range of interests, talents, and abilities. That balance is important not just pedagogically

but also administratively: we offer courses, support research, recruit artistic talent, plan athletic

rosters, and more based on a carefully composed undergraduate class.

       27.     Graduate admissions are even more complicated. Class size and composition

require attention to issues like funding sources, areas of study, and more. Eliminating accepted

students who would have enrolled through student visa programs would decimate incoming classes

across Harvard’s graduate programs with no realistic way to replace the students lost for the next

academic year. Because graduate students serve as teaching fellows to undergraduates and help

run Harvard’s research labs, the loss of graduate students will have a ripple effect across the entire

University.

       28.     For over a century, Harvard has sought to bring the world’s brightest, most creative,

and most innovative students to our campus. The University’s long-term strategy to achieve




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excellence as a research university, so that we might make contributions to knowledge and to

science that will benefit the United States and the wider world, has depended upon our ability to

draw upon a global talent pool. It is impossible to capture the full scope of the serious and

devastating impact at Harvard caused by the government’s decision, both immediate and longer-

term, to inhibit Harvard’s ability to enroll international students in our academic programs.

       29.     There is simply no replacing the presence and contributions of these individuals

and future generations of international students who will feel that entrusting their education and

their future to Harvard is too risky, unless the court immediately steps in to reverse the

government’s decision and confirm that this highly disruptive action is unlawful.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

       Executed this 22nd day of May, 2025, in Cambridge, Massachusetts.


                                                             /s/ Mark C. Elliott
                                                             Mark C. Elliott




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